

People v Denize (2023 NY Slip Op 51089(U))



[*1]


People v Denize (Bradley)


2023 NY Slip Op 51089(U)


Decided on October 16, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on October 16, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Brigantti, J.P., Tisch, Michael, JJ.



570205/19

The People of the State of New York, Respondent,
againstBradley Denize, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (David Frey, J., at plea; Marisol Martinez Alonso, J., at sentencing), rendered February 8, 2019, convicting him, upon his plea of guilty, of driving while under the influence of alcohol and drugs, and sentencing him, inter alia, to a fine of $1,000.




Per Curiam.
Judgment of conviction (David Frey, J., at plea; Marisol Martinez Alonso, J., at sentencing), rendered February 8, 2019, affirmed.
We perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: October 16, 2023









